        CASE 0:16-cv-03378-SRN-SER Doc. 6 Filed 10/20/16 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Blue Dot Design & Manufacturing, Inc.,      Civil Case No: 16-cv-03378 (SRN/SER)

            Plaintiff,

v.                                                             ORDER

Gold Leaf Holding, Ltd., D/B/A Rove
Concepts, a Canadian corporation,

            Defendant.


      Based upon the Plaintiff’s Notice of Dismissal [Doc. No. 5].

      IT IS HEREBY ORDERED that this action is dismissed without prejudice.


                                               BY THE COURT:


Dated: October 20, 2016                        s/Susan Richard Nelson
                                               SUSAN RICHARD NELSON
                                               United States District Judge
